Case 23-11069-CTG   Doc 1665-2   Filed 01/08/24   Page 1 of 22




  EXHIBIT A
                 Case 23-11069-CTG            Doc 1665-2         Filed 01/08/24         Page 2 of 22




                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    YELLOW CORPORATION, et al.,1                                  ) Case No. 23-11069 (CTG)
                                                                  )
                             Debtors.                             ) (Jointly Administered)
                                                                  )

                    DEBTORS’ FIRST SET OF REQUESTS FOR PRODUCTION
                          TO CENTRAL STATES PENSION FUND

             Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure (the “Federal Rules”),

made applicable to the above-captioned chapter 11 cases (the “Chapter 11 Cases”) by Rules 7026,

7034, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the

Local Rules of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the above captioned debtors and debtors in possession (the “Debtors”), by and through

their undersigned counsel, serve their First Set of Requests for Production of Documents

(collectively, the “Requests,” and each, a “Request,”) to Central States Pension Fund (“CSPF”).

             CSPF shall produce the documents and electronically stored information requested to

counsel for the Debtors at the offices of Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois

60654, Attn: Michael Slade, or at another mutually agreeable location, on a rolling basis, with such

production to be completed on or before January 8, 2024, or such other time as the parties may

agree or the Court may order. These Requests shall be continuing in nature, and any additional

information subsequently discovered should be provided as soon as the same becomes available.



1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of
      business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
      Park, Kansas 66211.
            Case 23-11069-CTG         Doc 1665-2       Filed 01/08/24        Page 3 of 22




                                          DEFINITIONS

       The following definitions shall apply to each Request and be construed in the broadest

sense permitted by the Federal Rules, the Bankruptcy Rules, the Local Rules, or any other

applicable law or rules.

       1.      “2014 Letter” shall mean the “Guarantee of Continued Participation” dated

January 29, 2014, that is attached to Proofs of Claim No. 4336- 4352, as Attachment 4.

       2.      “ARPA” shall mean the American Rescue Plan Act of 2021.

       3.      “CDA” shall mean the Contribution Deferral Agreement, dated June 17, 2009,

between You and YRC Inc., USF Holland, Inc., New Penn Motor Express Inc., USF Reddaway

Inc., and any and all amendments, schedules, or exhibits thereto.

       4.      “Communication” or “Communications” shall mean the transmittal of

information of any kind, in any form, and by any means, and therefore includes, but is not limited

to, any telephone conversation, face-to-face meeting or conversation, visit, conference, internal or

external discussion, or exchange of Documents. All written Communications shall include,

without limitation, electronic, printed, typed, handwritten or other readable Documents,

correspondence, memoranda, reports, contracts, both initial and subsequent, diaries, logbooks,

minutes, notes, studies, surveys, forecasts, emails, text messages, and instant messages. A Request

for Documents concerning any Communication among or between specified parties includes a

request for any Communication among or between such parties, whether or not such

Communication included or was directed to any other person.

       5.      “Concerning” shall mean, in addition to its usual and customary meaning, relating

to, discussing, mentioning, evidencing, identifying, embodying, constituting, effecting, referring

to, assessing, recording, analyzing, describing, evaluating, memorializing, about, regarding,

touching upon, listing, or reflecting the matter specified in the Request.


                                                 2
             Case 23-11069-CTG          Doc 1665-2      Filed 01/08/24      Page 4 of 22




        6.      “CSPF,” “You,” or “Your” shall mean Central States Pension Fund, Central

States, Southeast and Southwest Areas Pension Fund, and Central States, Southeast and Southwest

Areas Health and Welfare Fund, as well as any of their present or former agents, affiliates,

controlled subsidiaries, officers, directors, managers, principals, members, employees,

independent contractors, advisory board members, financial advisors, partners, attorneys,

accountants, investment bankers, consultants, representatives, and other professionals, each in

their capacity as such, affiliates, divisions, professionals, and all other persons acting or purporting

to act on their behalf.

        7.      “Debtors” shall mean the above-captioned debtors and debtors in possession.

        8.      “Document” or “Documents” shall have the meaning ascribed by Rule 7034 of the

Federal Rules of Bankruptcy Procedure, including, without limitation, any tangible thing upon

which any expression, communication, or representation has been recorded by any means,

including, but not limited to, handwriting, typewriting, printing, photostating, photographing,

videotaping, magnetic impulse, computer disks, computer storage drives, computer tapes, or

mechanical, electronic, or digital recording or information storage of any kind, and any non-

identical copies (whether different from the original because of notes made on such copies, because

of indications that said copies were sent to different individuals than were the originals, or because

of any other reason), including, but not limited to, working papers, preliminary, intermediate or

final drafts, correspondence, memoranda, electronic mail, charts, notes, records of any sort of

meetings, financial calculations, diaries, reports of telephone or other oral conversations, desk

calendars, appointment books, and all other writings and recordings of every kind that are in your

actual or constructive possession, custody, or control.




                                                   3
               Case 23-11069-CTG       Doc 1665-2       Filed 01/08/24     Page 5 of 22




       9.        “Including,” shall mean “including, but not limited to” and “including, without

limitation.”

       10.       “Person” or “Persons” shall mean all individuals and entities and include, without

limitation, natural persons, partnerships, associations, groups, organizations, joint ventures,

corporations, government agencies (federal, state, or local), and any other business or legal entities.

       11.       “POCs” shall mean (a) any and all proofs of claim You filed in this Bankruptcy

Case; (b) any exhibits or attachments to any such proof of claim; and (c) any underlying contracts,

agreements, transactions, or other documents alleged to give rise to the claim asserted in the POCs.

       12.       “Special Financial Assistance” shall mean the special financial assistance

authorized by and available to multiemployer pension plans under ARPA.

       13.       “Unfunded Vested Benefits” shall have the meaning set forth in Section 4213(c)

of the Employee Retirement Income Security Act of 1974.

                                         INSTRUCTIONS

        1.       You are required to search for all documents within your possession, custody, or

control, wherever located, including, without limitation, any documents placed in storage facilities

or in the possession of any employee, agent, representative, attorney, investigator, or other person

acting or purporting to act on your behalf (whether located at his/her residence or place(s) of

business), in order to fully respond to these Requests.

        2.       All Requests shall be deemed to include requests for any and all transmittal sheets,

cover letters, enclosures, or any other annexes or attachments to the documents. You are to

produce the original and all non-identical copies, including all drafts of each document requested.

If You are not able to produce the original of any document, please produce the best available copy

and all non-identical copies, including drafts.




                                                  4
             Case 23-11069-CTG         Doc 1665-2          Filed 01/08/24   Page 6 of 22




        3.     In accordance with Rule 34(b) of the Federal Rules, as incorporated by Rules 7034

and 9014 of the Bankruptcy Rules, as applicable, documents shall be produced as they are kept in

the ordinary course of business or shall be organized and labeled to correspondence with the

categories in each Request. The name of the file from which it was produced, the identity of the

person from whose file it was produced, and the identity of the present custodian of that file shall

be set forth. All documents requested herein shall be produced electronically as tagged image file

format (“TIFF”) or portable document format (“PDF”) files, except that all spreadsheets and

accounting and financial data, including those created with Excel software, shall be produced in a

fully functional native form (i.e., in a linked format).

        4.     If the meaning of any term in any Request herein is unclear to You, without waiving

of the right to seek a full and complete response to the Request, You shall assume a reasonable

meaning, state what the assumed meaning is, and respond to the Request according to the assumed

meaning.

        5.     In accordance with Rule 34(b) of the Federal Rules, as incorporated by Rules 7034

and 9014 of the Bankruptcy Rules, as applicable, objections to any part of these Requests shall be

stated in full and with specificity. In the event You interpose an objection to a Request, You must

produce the documents to which objection is not made or provide testimony or information not

objected to, as the case may be.

        6.     Each Request shall be deemed continuing so as to require prompt supplementation

if You obtain, generate, or discover additional documents or information. If, after responding,

You obtain or become aware of any additional documents or information responsive to these

Requests, production of such additional documents or information shall be made forthwith as




                                                   5
              Case 23-11069-CTG       Doc 1665-2        Filed 01/08/24    Page 7 of 22




required by Rule 26 of the Federal Rules, as incorporated by Rules 7026 and 9014 of the

Bankruptcy Rules, as applicable.

        7.      Unless a different time period is specified, the period covered by these discovery

requests is from January 1, 2022, to the present.

        8.      If you claim that any Document or Communication responsive to any of the

Requests herein is privileged or otherwise immune from discovery as work product, You shall

respond to the Request to the extent to which it is not objected and explain the grounds upon which

the objection is based by providing the full identification of the withheld documents, thing or

portion thereof, including:

                a.     its date;

                b.     the identity of all persons who prepared, signed and/or were involved with
                       the Document or Communication;

                c.     the general nature of the Document or Communication (e.g., letter,
                       photograph, etc.);

                d.     a summary of its contents or its general subject matter;

                e.     the identities of all persons to whom the Document, Communication, or any
                       copies thereof were circulated or its contents communicated; and

                f.     the specific grounds for not responding in full, including the nature of the
                       privilege (e.g., attorney client privilege, work product) or other rule of law
                       relied upon to withhold the Document or Communication, and the facts
                       supporting those grounds.

        9.      Any purportedly privileged document containing non-privileged matter must be

produced, with the purportedly privileged portion redacted.

        10.     If You are aware of any Document or Communication requested to be produced

that has been lost, discarded, destroyed, or is otherwise not available for production for any reason

whatsoever, You shall provide:




                                                    6
             Case 23-11069-CTG       Doc 1665-2       Filed 01/08/24     Page 8 of 22




               a.     a full identification of each such Document or Communication, including
                      its author, addressee, recipient, date, and general type (e.g., letter, report)

               b.     a summary of its contents or general subject matter;

               c.     the identities of all persons who participated in preparing and/or signing the
                      Document or Communication;

               d.     the date and manner of disposal;

               e.     the reason for disposal;

               f.     the identity of any person who has possession, custody, or control of a
                      partial or complete copy of such Document or Communication; and

               g.     the identity of all persons who participated in and/or authorized the
                      destruction or discarding or who have knowledge of the date and
                      circumstances surrounding the destruction or discarding.

       11.     Whenever necessary to bring within the scope of a Request any documents or

information that might otherwise be construed as outside its scope:

               a. The use of a verb in any tense shall be construed as the use of that verb in all
                  other tenses;

               b. The use of a word in its singular form shall be deemed to include within its use
                  the plural form, and vice versa;

               c. The use of the masculine form of a noun or pronoun shall include the feminine
                  form, and vice versa;

               d. The use of the conjunctive or disjunctive, respectively, shall be construed as
                  necessary to be inclusive rather than exclusive;

               e. The use of terms “and,” “or,” or “and/or” shall be construed as encompassing
                  “and,” “or,” and “and/or,”; and

               f. The terms “all,” “each,” and “all/each” shall be construed as all, each, and any.




                                                 7
             Case 23-11069-CTG         Doc 1665-2      Filed 01/08/24     Page 9 of 22




                                  DOCUMENTS REQUESTED

        1.      All Documents and Communications Concerning Your decision to deem the

Debtors’ participation in CSPF terminated as of July 23, 2023.2

        2.      All Documents and Communications Concerning the impact of the Debtors’

chapter 11 filing (if any) on CSPF.

        3.      All Documents and internal Communications Concerning each of Your POCs.

        4.      All Communications between You and any third party regarding any of Your POCs.

        5.      All Documents and Communications Concerning Your calculation of each of Your

POCs.

        6.      Documents sufficient to show, for any disputes You identify in response to

Interrogatory No. 10, served contemporaneously herewith, the outcome of each such dispute,

Including any arbitration awards, judgments, orders, or other findings issued by the judge,

arbitrator, or factfinder.

        7.      All Documents and Communications Concerning the presence or absence of

Unfunded Vested Benefits at CSPF following CSPF’s receipt of Special Financial Assistance.

        8.      Documents sufficient to show when CSPF received Special Financial Assistance.

        9.      Documents sufficient to show what CSPF has done with the funds received as

Special Financial Assistance and what CSPF plans to do with the funds received as Special

Financial Assistance.




2
    https://mycentralstatespension.org/yrc-inc-and-usf-holland-llc-
    faqs#:~:text=As%20notified%20previously%2C%20Yellow's%20participation,for%20maintaining%20future%
    20pension%20coverage.




                                                  8
              Case 23-11069-CTG            Doc 1665-2         Filed 01/08/24        Page 10 of 22




        10.      All Documents and Communications Concerning the potential or actual impact of

ARPA (or any other actual or potential legislation that would allocate funds to multi-employer

pension funds) on You.

        11.      All drafts of either of Your applications for Special Financial Assistance,3 and all

Communications related to such drafts.

        12.      All Documents and Communications Concerning Your applications for Special

Financial Assistance under ARPA.

        13.      All Documents and Communications Concerning the effects of Special Financial

Assistance on Your projected solvency and/or ability to satisfy any Unfunded Vested Benefits.

        14.      All Documents and Communications Concerning how You have used, or intend to

use, Special Financial Assistance funds.

        15.      All Documents and Communications Concerning the representation in Your

Special Financial Assistance application that “any withdrawal liability collection [from Debtors]

would be de minimis.”

        16.      All Documents and Communications Concerning the representation in Your

Special Financial Assistance application that there would be ““[z]ero future withdrawal liability

payments . . . for [Debtors].”

        17.      All drafts of, or Communications regarding, the responses to questions available at

https://mycentralstatespension.org/-/media/Pension/PDFs/Pension-Crisis/SFA-

FAQ.pdf?la=en&hash=29D68C68E854D8A7C4FFB45F17D56F477343DCB9




3
    See https://www.pbgc.gov/sites/default/files/documents/central-states-sfa-app.pdf
    https://www.pbgc.gov/sites/default/files/documents/central-states-sfa-revised.pdf




                                                        9
              Case 23-11069-CTG        Doc 1665-2      Filed 01/08/24   Page 11 of 22




        18.      All inbound Communications from CSPF participants since CSPF’s request for

Special Financial Assistance was approved relating to: (a) the security of benefits promised to

CSPF participants; (b) the solvency of CSPF; or (c) the impact of the Special Financial Assistance

on CSPF, or participants’ benefits.

        19.      Any Communications from CSPF to any participants responsive to any of the

Communications referenced in Request No. 15 above, and all drafts of and internal

Communications about the same.

        20.      All Documents and Communications since January 1, 2021, regarding any potential

or actual withdrawal liability for the Debtors.

        21.      All Documents or Communications regarding Your calculation of the Debtors’

potential or actual withdrawal liability, and any withdrawal liability payment schedule that You

drafted or prepared for the Debtors.

        22.      All Documents and Communications related to any missed contributions by the

Debtors to CSPF at any time.

        23.      All Documents and Communications related to the 2014 Letter.

        24.      All Communications relating to or constituting negotiations of the 2014 Letter,

including all drafts.

        25.      All Documents related in any way to any damages incurred by CSPF (if any) related

to breach of the 2014 Letter.

        26.      All Documents and Communications Concerning the CDA, including, without

limitation, any amendments, supplements, side letters, or codicils thereto.

        27.      All Documents that You considered or relied upon in responding to any of the

Debtors’ interrogatories, served contemporaneously herewith.




                                                  10
             Case 23-11069-CTG     Doc 1665-2     Filed 01/08/24   Page 12 of 22




       28.      All Documents or Communications related to what You may or will do with any

recovery that You receive on account of any of Your POCs.

Dated: December 8, 2023             /s/ Michael B. Slade
                                    Laura Davis Jones (DE Bar No. 2436)
                                    Timothy P. Cairns (DE Bar No. 4228)
                                    Peter J. Keane (DE Bar No. 5503)
                                    Edward Corma (DE Bar No. 6718)
                                    PACHULSKI STANG ZIEHL & JONES LLP
                                    919 North Market Street, 17th Floor
                                    P.O. Box 8705
                                    Wilmington, Delaware 19899-8705 (Courier 19801)
                                    Telephone:     (302) 652-4100
                                    Facsimile:     (302) 652-4400
                                    Email:         ljones@pszjlaw.com
                                    tcairns@pszjlaw.com
                                    pkeane@pszjlaw.com
                                    ecorma@pszjlaw.com

                                    -and-

                                    Patrick J. Nash, P.C. (admitted pro hac vice)
                                    David Seligman, P.C. (admitted pro hac vice)
                                    Michael B. Slade (admitted pro hac vice)
                                    Whitney Fogelberg (admitted pro hac vice)
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    300 North LaSalle
                                    Chicago, Illinois 60654
                                    Telephone:     (312) 862-2000
                                    Facsimile:     (312) 862-2200
                                    Email:          patrick.nash@kirkland.com
                                                   david.seligman@kirkland.com
                                                   whitney.fogelberg@kirkland.com

                                    Allyson B. Smith (admitted pro hac vice)
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    601 Lexington Avenue
                                    New York, New York 10022
                                    Telephone: (212) 446-4800
                                    Facsimile:    (212) 446-4900
                                    Email:       allyson.smith@kirkland.com

                                    Co-Counsel for the Debtors and Debtors in Possession



                                             11
           Case 23-11069-CTG        Doc 1665-2      Filed 01/08/24     Page 13 of 22




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on December 8, 2023, he caused a true and correct

copy of the foregoing Debtors’ First Set of Requests for Production of Documents to Central States

Pension Fund to be served via email and overnight mail upon counsel for Central States Pension

Fund.


                                                    /s/ Michael B. Slade
                                                    Michael B. Slade
                Case 23-11069-CTG            Doc 1665-2         Filed 01/08/24         Page 14 of 22




                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    YELLOW CORPORATION, et al.,1                                  ) Case No. 23-11069 (CTG)
                                                                  )
                             Debtors.                             ) (Jointly Administered)
                                                                  )

                          DEBTORS’ FIRST SET OF INTERROGATORIES
                             TO CENTRAL STATES PENSION FUND

             Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (the “Federal Rules”),

made applicable to the above-captioned chapter 11 cases (the “Chapter 11 Cases”) by Rules 7026,

7033, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the

Local Rules of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the above captioned debtors and debtors in possession (the “Debtors”), by and through

their undersigned counsel, serve their First Set of Interrogatories (collectively, the

“Interrogatories,” and each, an “Interrogatory,”) to Central States Pension Fund (“CSPF”).

             CSPF shall serve verified responses to these Interrogatories, sworn under oath by a person

with authority from CSPF to do so, upon counsel for the Debtors at the offices of Kirkland & Ellis

LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Michael Slade, or at another mutually

agreeable location, on or before January 8, 2024, or such other time as the parties may agree or the

Court may order.           These Interrogatories shall be continuing in nature, and any additional

information subsequently discovered should be provided as soon as the same becomes available.



1
      A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
      and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of
      business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
      Park, Kansas 66211.
             Case 23-11069-CTG         Doc 1665-2      Filed 01/08/24      Page 15 of 22




                                           DEFINITIONS

        The following definitions shall apply to each Interrogatory and be construed in the broadest

sense permitted by the Federal Rules, the Bankruptcy Rules, the Local Rules, or any other

applicable law or rules.

        1.      “ARPA” shall mean the American Rescue Plan Act of 2021.

        2.      “Bankruptcy Case” shall mean and refer to the captioned Case No. 23-11069 filed

in the District of Delaware and all related matters.

        3.      “CSPF,” “You,” or “Your” shall mean Central States Pension Fund, Central

States, Southeast and Southwest Areas Pension Fund, and Central States, Southeast and Southwest

Areas Health and Welfare Fund, as well as any of their present or former agents, affiliates,

controlled subsidiaries, officers, directors, managers, principals, members, employees,

independent contractors, advisory board members, financial advisors, partners, attorneys,

accountants, investment bankers, consultants, representatives, and other professionals, each in

their capacity as such, affiliates, divisions, professionals, and all other persons acting or purporting

to act on their behalf.

        4.      “Including,” shall mean “including, but not limited to” and “including, without

limitation.”

        5.      “Person” or “Persons” shall mean all individuals and entities and include, without

limitation, natural persons, partnerships, associations, groups, organizations, joint ventures,

corporations, government agencies (federal, state, or local), and any other business or legal entities.

        6.      “POCs” shall mean (a) each and every proof of claim You filed in this Bankruptcy

Case; (b) any exhibits or attachments to any such proof of claim; and (c) any underlying contracts,

agreements, transactions, or other documents alleged to give rise to the claim asserted in the POCs.




                                                   2
             Case 23-11069-CTG        Doc 1665-2      Filed 01/08/24      Page 16 of 22




       7.       “Special Financial Assistance” shall mean the special financial assistance

authorized by and available to multiemployer pension plans under ARPA.

       8.       “Unfunded Vested Benefits” shall have the meaning set forth in Section 4213(c)

of the Employee Retirement Income Security Act of 1974.

                                        INSTRUCTIONS

        1.      In responding to each Interrogatory, You must provide all information available to

You or subject to Your access or control, including all information in the possession or control of

Your representatives, advisors, and any other person or entity acting on Your behalf, including

attorneys, financial advisors, entities acting on your behalf, and persons acting on your behalf even

if employed by entities other than You.

        2.      Each Interrogatory shall be answered fully, in writing and under oath.          The

responses to the Interrogatories are to be signed by You, and the objections are to be signed by the

attorney making them.

        3.      If You object to any part of any Interrogatory, You shall state fully in writing the

nature of the objection. Notwithstanding any objections, You shall respond to the Interrogatory

as narrowed in a way that renders it not overbroad in Your opinion, and state the extent to which

You have narrowed that Interrogatory for purposes of Your response. You shall also respond fully

to the other parts of the Interrogatory to which You are not objecting.

        4.      If any privilege is claimed as a ground for not answering an Interrogatory in full,

describe the basis for the claim of privilege and all information necessary for the Debtors to assess

the claim of privilege, in accordance with Federal Rule of Civil Procedure 26(b)(5)(A), made

applicable by Rule 7026 of the Bankruptcy Rules




                                                 3
             Case 23-11069-CTG         Doc 1665-2      Filed 01/08/24      Page 17 of 22




        5.      These Interrogatories are continuing in nature. If after answering the

Interrogatories, You obtain or become aware of any information Or answers which are responsive

to these Interrogatories, supplementary responses are required.

        6.      If a claim of privilege is asserted in objecting to any Interrogatory, or sub-part

thereof, furnish the following information with respect to that portion of the Interrogatory as to

which the claim of privilege is asserted: (a) the basis on which the privilege is claimed; (b) the

type of information withheld; and (c) the general subject matter of the information withheld.

        7.      The use of the singular form of any word includes the plural and vice versa.

        8.      The use of the past tense of any verb includes the present tense and vice versa.

        9.      If You cannot answer the following Interrogatories in full after exercising due

diligence to secure the full information to do so, state an answer to the extent possible, specifying

the reasons for Your inability to answer the remainder, and stating whatever information or

knowledge You have concerning the unanswered portion.

                                      INTERROGATORIES

       1.       Identify all Persons with knowledge of the POCs, and for each Person so identified,

state his or her (i) name, (ii) position, (iii) address, and (iv) the subject matter of the Person’s

knowledge.

       2.       Identify all Persons who were involved in the preparation of the POCs, and for each

such Person, state his or her (i) name, (ii) position, (iii) address, and (iv) the role that such Person

played in the preparation of each POC.

       3.       Identify all fact and expert witnesses that You may (i) identify as a person with

factual knowledge related to any the POCs; or (ii) call as a witness at any hearing or trial regarding

the allowance or disallowance of one or more of the POCs.




                                                   4
             Case 23-11069-CTG       Doc 1665-2        Filed 01/08/24   Page 18 of 22




       4.       For each person identified in response to Interrogatory No. 3, described in detail

the substance of their anticipated testimony.

       5.       For each POC, explain how You calculated the amounts allegedly owed and explain

the connections of all such amounts to any and all of the Debtors’ contractual, statutory, or any

other common law obligations.

       6.       Did You have Unfunded Vested Benefits as of August 7, 2023? If so, please

quantify the amount of Your Unfunded Vested Benefits as of August 7, 2023, and describe how

you calculate the total sum of assets on the one hand, and liabilities on the other hand, that leads

to your assertion that You had Unfunded Vested Benefits as of August 7, 2023.

       7.       Did You have any Unfunded Vested Benefits, as of August 7, 2023, that was

attributable to a current or former employee of the Debtors? If so, please quantify the amount of

such Unfunded Vested Benefits and describe how any such Unfunded Vested Benefits were

attributable to the Debtors.

       8.       If You contend that the withdrawal liability amount set forth in any POC need not

be limited to the present value of the payment stream reflected in “the first 20 annual payments

determined under” 29 U.S.C. § 1399(c)(1)(C), identify and explain Your bases for such contention.

       9.       If You contend that the Debtors’ “highest contribution rate” under 29 U.S.C. §

1399(c)(1)(C)(i)(II) should include or account for contribution rate increases required by any

funding improvement or rehabilitation plans in plan years beginning after December 31, 2014,

identify and explain Your bases for such contention.

       10.      In any other litigation, arbitration, or dispute resolution process, have You taken

the position that the “highest contribution rate” under 29 U.S.C. § 1399(c)(1)(C)(i)(II) should

include or account for contribution rate increases required by any funding improvement or




                                                 5
             Case 23-11069-CTG        Doc 1665-2      Filed 01/08/24     Page 19 of 22




rehabilitation plans in plan years beginning after December 31, 2014? If so, please describe the

outcome of each such dispute, including whether the judge, arbitrator, or factfinder adopted your

proposed highest contribution rate.

       11.       If You contend that the withdrawal liability amount set forth in any POC need not

be discounted to present value, identify and explain Your bases for such contention.

       12.       Did You prepare a withdrawal liability payment schedule for any POC? If so, please

set forth the payment schedule You prepared for each POC, and explain how You calculated each

such schedule.

       13.       If You contend that a 20-year withdrawal liability payment schedule is not

necessary for any POC that asserts withdrawal liability, identify and explain Your bases for such

contention.

       14.       Explain what effect, if any, Your receipt of Special Financial Assistance funds has

had on Your projected solvency and/or ability to satisfy any Unfunded Vested Benefits.

       15.       Explain how You have used, or intend to use, Special Financial Assistance funds

under ARPA.

       16.       Explain how You would use any recovery that You receive on account of any of

Your POCs if you otherwise have sufficient funds to pay all benefits owed to CSPF participants.

       17.       You deemed the Debtors to have completely withdrawn from CSPF as of July 23,

2023. Do You contend that the Debtors were obligated to make ongoing contributions to You

following their complete withdrawal? If so, describe in detail why.

       18.       Do You contend that You suffered any actual damages when the Debtors

completely withdrew from CSPF, ceasing to have participants accruing benefits payable by CSPF?

If so, describe how and why You were damaged and provide a calculation of Your actual damages.




                                                  6
             Case 23-11069-CTG        Doc 1665-2      Filed 01/08/24      Page 20 of 22




       19.      Identify all Person(s) that You consulted or communicated with in forming Your

responses to any Interrogatory, and for each such Person, state his or her (i) name, (ii) title, (iii)

address, and (iv) the nature and subject matter of the consultation or communication.

Dated: December 8, 2023                /s/ Michael B. Slade
Wilmington, Delaware                   Laura Davis Jones (DE Bar No. 2436)
                                       Timothy P. Cairns (DE Bar No. 4228)
                                       Peter J. Keane (DE Bar No. 5503)
                                       Edward Corma (DE Bar No. 6718)
                                       PACHULSKI STANG ZIEHL & JONES LLP
                                       919 North Market Street, 17th Floor
                                       P.O. Box 8705
                                       Wilmington, Delaware 19899-8705 (Courier 19801)
                                       Telephone:     (302) 652-4100
                                       Facsimile:     (302) 652-4400
                                       Email:         ljones@pszjlaw.com
                                       tcairns@pszjlaw.com
                                       pkeane@pszjlaw.com
                                       ecorma@pszjlaw.com

                                       -and-

                                       Patrick J. Nash, P.C. (admitted pro hac vice)
                                       David Seligman, P.C. (admitted pro hac vice)
                                       Michael B. Slade (admitted pro hac vice)
                                       Whitney Fogelberg (admitted pro hac vice)
                                       KIRKLAND & ELLIS LLP
                                       KIRKLAND & ELLIS INTERNATIONAL LLP
                                       300 North LaSalle
                                       Chicago, Illinois 60654
                                       Telephone:     (312) 862-2000
                                       Facsimile:     (312) 862-2200
                                       Email:          patrick.nash@kirkland.com
                                                      david.seligman@kirkland.com
                                                      michael.slade@kirkland.com
                                                      whitney.fogelberg@kirkland.com

                                       -and-

                                       Allyson B. Smith (admitted pro hac vice)
                                       KIRKLAND & ELLIS LLP
                                       KIRKLAND & ELLIS INTERNATIONAL LLP
                                       601 Lexington Avenue
                                       New York, New York 10022



                                                  7
Case 23-11069-CTG   Doc 1665-2    Filed 01/08/24   Page 21 of 22




                    Telephone:    (212) 446-4800
                    Facsimile:    (212) 446-4900
                    Email:        allyson.smith@kirkland.com

                    Co-Counsel for the Debtors and Debtors in Possession




                              8
          Case 23-11069-CTG         Doc 1665-2     Filed 01/08/24     Page 22 of 22




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on December 8, 2023, he caused a true and correct

copy of the foregoing Debtors’ First Set of Interrogatories to Central States Pension Fund to be

served via email and overnight mail upon counsel for Central States Pension Fund.


                                                   /s/ Michael B. Slade
                                                   Michael B. Slade
